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                      Exhibit 2
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                         AGREEMENT                                   made               as    of       the        1st
                                                                                                                            day           of        March,              2007        by
       and            between                         TEACHERS                                    COLLEGE                                 (hereinafter                          "the


       College")                     and            Local             2110,                  United                  Autoworkers,                                   AFL-CIO

       (hereinafter                      "Local            2110").




       WITNESSETH:


                         WHEREAS,                                  Local               2110               has             been                 certified                 by        the

       National                 Labor                 Relations                     Board                 as        the        exclusive                       bargaining

       agent            for          certain                employees                         of          the            College,                      as      hereinafter

       defined,               and



                        WHEREAS,                              as     a     result            of        such          certification,                           the       College

       recognizes                        Local           2110              as         the         exclusive                   collective                       bargaining

       representative                        for       such          employees,                        and



                        WHEREAS,                               the         parties                 are          mutually                       concemed                       about

       maintaining                       suitable             wages,              hours               and        other           terms                 and      conditions

       of         employment                            which                   are          consistent                          with                 the           College's

       obligation               to         provide             uninterrupted                             service,             and



                        WHEREAS,                              in     furtherance                         of      these           concerns,                      the      parties

       have         bargained                       collectively                       and            have           agreed                    to      set      forth           their

       agreement                    in     writing,




                        NOW,                     THEREFORE,                                  in          consideration                                of      the        mutual

       covenants                    and          conditions                     contained                      herein,              the             parties           agree             as

       follows:                                                                                                                                                                              -




                                                                                                                                                                                                 5
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         4.    A      temporary                            employee                            is     one              who            is     hired                       for          a period                         of           up
                                                                                                                                                                                                                                          A   1

              to      four              (4)         months                    and            is      so       informed                          at         the              time                 of        hire,              and

              who             is        hired              for       special                      project                 or         to     replace                            an          employee                                 on

               leave               or         vacation.                            The              said           four              (4)           month                            period                     may                  be

              extended                         up         to      an         additional                        two             (2)         months                              or         for         the           length

              of        maternity                          leave                 of      the          employee                             being                     replaced,                              with               the

              consent                         of         Local                   2110,                which                    shall                  not                  be             unreasonably

              withheld;                            however,                           such            employee                             shall                    become                            a        member
              of        Local                      2110              after               the              expiration                            of             the              initial                     four                (4)

              month                 period.                          The              College                     shall
                                                                                                                                      notify                        Local                   2110                   within


              sixty                (60)                  days                if          a
                                                                                                    temporary                               employee                                        is
                                                                                                                                                                                                          filling                     a

              bargaining                                 unit              position
                                                                                                             including                               name                            of               employee,

              department,                                  projected                                dates                 of              employment,                                                 salary                        of

              employee                             and          reason                 for          temporary                             employment.



              If        a      temporary                                  full-time                          employee                                is             selected                              to          fill            a

              vacancy                         within                   the
                                                                                       bargaining                               unit,                 or              if            the           temporary
              position                        becomes                        a        permanent                           position,                                 the             employee                                 will

              be         included                          in          the             bargaining                              unit.                           In           such                  cases,                       the

              previous                        period                 of           temporary                            employment                                          shall                 be         credited

              towards                    employee                            benefits                      under                this            Agreement.                                             Upon                    the

              expiration                           of      the
                                                                       temporary                             position,                      the                employee                                   who                held

              the       position                        will         be           given              preference                            in         consideration                                             for           any
              vacancies                            which                  then               exist            and              for          which                          the             employee                                 is

              qualified,                           and            provided                            that             nothing                            in          this                 clause                       shall

              violate               Article                      V     dealing                      with           job          vacancies                                  and              promotions.




         5.   Any            full-time                         employee                           who             is     a member                                   of         Local                      2110                and

              whose                     work                     schedule                            or        number                            of                 hours                        worked                             is


              subsequently                                 changed                       shall              remain                    a    member                               of          Local                   2110.




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       5.    All        employees                          referred                       to         in         Section                      3    and               Section                      4 of         this

             Article                who                 elected                     not             to          join              Local                   2110                      shall             not          be

            required                  to      pay              any           fee          to         Local                  2110                 which                    is        based              on,         or

            is        equivalent                         to,        the             initiation                             fee          required                           to         be         paid              by
            Local              2110           members.



       6.   For         the        purpose                     of     this                                                                                          in         Local              2110               in
                                                                                      Article,                         membership
            good              standing                    shall              mean                    that              an        employee                             has             tendered                      to

            Local              2110            the             initiation                       fee             and                                                            dues              required
                                                                                                                               membership
            as      condition                     of       membership                                     in         Local                2110.



       7.   Subject                 to      the          provisions                             of          Article                     XIII             of         this              Agreement,

            any         employee                          who               fails              to         maintain                        his            or         her
                                                                                                                                                                                    membership
            in      Local                2110             or        who               fails               to         pay            the           required                           agency                  fees

            shall             be         discharged                            by              the              College                        twenty                         calendar                      days

            following                      receipt                  by         the             College                         of        a       written                       demand                       from

            Local               2110                requesting                                 his              or          her              discharge,                                unless                  the

            employee                        tenders                    the             delinquent                                   amounts                          to              Local                  2110

            during             the                                                  period.
                                           twenty-day



                                                                                ARTICLE                                        IH

                                                                                CHECK-OFF


       1.   Subject                 to      the            provisions                               of          Article                   II       upon                    written                    notice

            from              Local             2110,                 the             College                           will              deduct                     all             Local                  2110

            membership                             dues              as       provided                               for          in      the            authorization                                      form

            set        forth             below,                     upon                  condition                              that             at          the              time              of         such

            notice,                Local                2110              shall                furnish                      the           College                         with               a     written

            authorization                               executed                          by              the           employee                               in             the
                                                                                                                                                                                            following
                                                                                                                                                                                                                           a
            form:



            "I      hereby                 authorize                        and            direct                    my           Employer                               to         deduct                  from

            my          wages                and               to     pay             over                    to       Local                     2110                on             notice                  from

            Local               2110                    such              amounts                               including                              initiation                           fees             and

            assessments                           (if      any            owed                  by          me)             as         my          membership                                     dues             in



                                                                                                          9
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                                                                                     ARTIVLE                                  IV

               VISITATION,                                         LOCAL                         2110                  ACTIVITY,                                     BULLETIN
                      BOARDS,                              MEMBERSHIP                                                  MEETINGS,                                        OFFICE
                                                                                               SPACE


         1.   Visitation.                        A     representative                                      of       Local              2110               shall              have

              reasonable                         access                   to     the          appropriate                             College                       departments

              and         offices                for         the           purpose                    of        conferring
                                                                                                                                                    with             the           delegates

              of      Local              2110               and/or                  employees                               covered                  by          this         Agreement,

              and         for       the          purpose                       of      administering                                   this          Agreement.                                Where

              Local              2110             representative                                   finds               it     necessary                         to       enter             upon

              the       College's                       premises                        for         this             purpose,                      the         representative

              shall           advise                 the         Human                    Resources                            Director                        or       his/her

              designee,                     as       the          College                     shall             state.                Such               visits              shall           not

              interfere                  with              the       operation                           of         that       department                               or      office.




        2.    Local               2110                Activity.                           No               employees                            shall                engage                    in      any
              Local               2110               activity                       including                          the           distribution                             of          literature

              which               would                interfere                       with            the           performance                                of       work.



        3.    Local              2110             shall             appoint                    a reasonable                               number                        shop               stewards

              to      carry           out         the            pmvisions                            of        this          Agreement                                  The              names              of

              the        shop             stewards                         shall              be         given                 to       the          Director                        of      Human

              Resources,                         who               will             inform                    the          heads              of         the         departments                             or

              divisions                   where                   the          shop            stewards                        are        employed.




        4.    With              sufficient                       prior              notice,                two              hours             paid              time             off         shall           be

              granted                four             times                per          year             by          the        College                        for       four              stewards

              and         two            Local               2110                   officers                    to          attend              Union                    meetings                      in         a

              manner                     consistent                            with                the               adequate                        functioning
                                                                                                                                                                                               of           the

              College.




        5.    Steward                    Training                         Fund.                The              College                  will              provide                     a     fund             of

              $7,500                to       be        used                for         steward                       training                   during                    the          course                of

              the       contract                  term.



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         9.      Office            Space                                                                                                                                                                                .




         Local       2110               shall           be         provided                         with             the           use              of         31          C & D                Zankel

         Hall      for         office             space                     and           Executive                          Board                        meetings                       including

         local     phone                usage               (excluding                           long           distance                        use).




                                                                                        ARTICLE                                   V                                                                                     .;

                                                                                        SENIORITY
         1.      Definitions




                          a)      Bargaining                                  unit             seniority                          shall                  be           defined                   as          the

                                   length                   of         time              an         employee                              has              been                continuously

                                  employed                                   in          bargaining                                   unit                 job               classification

                                  covered                        by         this        Agreement                            as          defined                     in      Article              I.




                         b)       Classification                                     seniority                  shall                   be      defined                        as      the       length

                                  of            time                  an            employee                          worked                              continuously                                 in           a

                                  specific                        job                classification                                   within                        the            division                    or

                                  department.




         2.      Accrual



                          a)      An              employee's                                     seniority                              shall                   commence                               after

                                  completion                                  of         the          employee's                                    probationary                                period

                                  and           shall             be          retroactive                       to        the           date              of        last       hire.




                          b)      Bargaining                                 unit          seniority                       and               classification                               semonty
                                  shall           be          maintained                            (i)        during                    a continuous                                  authorized

                                  leave                of         absence                      of         up         to           six           months                       (or        longer                 as

                                  provided                             in            Article                   XXI)                      or              for           the             period                  of

                                  maternity
                                                                      leave             provided                      that               the         employee                           retums                 to

                                  work                  immediately                                  following                                the              expiration                       of          the

                                  leave                  of             absence                           and              (ii)                during                      a         period                    of


                                                                                                          13
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         3.       Loss         of         Seniority



         An      employee's                           seniority                            shall              be           lost              when                     an            employee                                 (i)
         terminates                 voluntarily;                             (ii)           is     discharged                               for          cause;                     (iii)              willfully
         exceeds              an        official                leave                 of         absence;                        (iv)            is      laid               off         for            a        period

         of   twelve           consecutive                              months                      or        a period                                                               the            length                   of
                                                                                                                                              exceeding
         an   employee's                           continuous                            service,                   whichever                              is         less.




         4.      Application



                         b)          Bargaining                                     unit                                                         shall                                                     in            the
                                                                                                         seniority                                                          apply
                                     computation                                    and            determination                                      of                                                    for            all
                                                                                                                                                                     eligibility
                                     benefits                    where                     length                  of           service                   is         a      factor                  pursuant

                                    to        the         terms                  of         this             Agreement,                               as            in        the           scheduling
                                    of        vacations.




                         c)         Classification                                                                      shall                                   in        matters
                                                                                      seniority                                          apply                                                          relating
                                    to        layoffs                  except                      where                  the                                                     and                                        of
                                                                                                                                        efficiency                                               ability
                                    the              employees                                   involved                             are                                                           unequal,
                                                                                                                                                      materially

                                    within                the          division                         or    department.



         5.      Lay-Offs



                       a)           Subject                 to          the              provisions                              of         paragraph                                4(b)                  of         this

                                   Article,                          employees                                    who                   have                        completed                                      their

                                   probationary                                  periods                     of         employment                                       shall              be          laid             off

                                   on        the         basis              of        their             classification                                   seniority.




                       b)          In         the           event                     that               an             employee                               is           laid              off                or            is

                                   scheduled                           to           be           laid             off            and             there                   exists                    a        vacant

                                   position                     in       any               department                                 which                    the                employee                            has

                                   the
                                                    efficiency                             and                ability                       to           perform,                              then                    the

                                   employee                          shall            be         offered                    the          vacant                      job.              In        the             event

                                   that            two          or          more                 employees                              are           scheduled                               to           be         laid

                                   off         and          a         vacant                     position                        exists                  or           vacant                     positions

                                   exist              which                  the              employees                                 have               the
                                                                                                                                                                             efficiency                               and


                                                                                                             15
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                           If          a job               filled                   in         accordance                                  with               the             above                is      in          a

                           lower                    pay              grade,                   then            the           employee                               shall              receive                   the             )
                           highest                    rate                 of      pay            then                 received                         by         any           employee                           in

                           the          lower                   pay               grade                or        the            employee's                                   current               rate             of

                           pay,             whichever                               is        less.




                      e)        For         the           purpose                         of      lay-off,                      any              employee                            who           is     paid

                                from                funds                  derived                     from                 a    specially                            financed                     project

                                or       projects                            and               who                is        informed                              at          the           time             that

                                he/she                is        hired                or         transferred                               that           his/her                 employment

                                is      for           a         specially
                                                                                                      financed                            project                     or        projects                     and

                                subject                    to              this            provision,                                shall                have                 classification

                                                                     within                     the                                                    financed                        project                      or
                                seniority                                                                        specially

                                pmjects                         to           which                     he/she                        is          assigned.                                 Any            such

                                employee                             shall               be       considered                                to         have             bargaining
                                                                                                                                                                                                             unit


                            seniority                           for             purposes                      of         transfer                        to       a     vacant                  position

                            outside                         the                 specially                          financed                             pmject                       or         projects

                            subject                        to          the           pmvisions                                  of         paragraph                                4(b)           of        this

                            Article.




.                     f)        Should                     layoffs                       within                   the           unit               occur                   and             should                no

                            positions                           within                    the          unit            be        available,                            the       College                     will

                            provide                        resume                         preparation                                and               referral                  assistance                         to

                                laid          off          employees                              in        finding
                                                                                                                                          employment                                   outside                  the

                            unit.

                                                                                                                                                                                                                                .


                      g)        Laid-off                        employees                                   shall                be              entitled                       to          take             CIS

                            computer                             workshops                                  at         no        charge                       up        to          four           months

                                following                            the          effective                      date            of         the           layoff.


                                                                                                                                                                                                                           ff
            6.   Recall




                      a)        Any                 employee                               who                   is         laid                 off           may                   request                    the

                                Director                    of         Human                         Resoumes                              to          infonn                  him/her                  of       all

                            job             vacancies                               that              occur                 within                      one             year               of      his/her



                                                                                                            17
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                           duties                    required                            to           be             performed                                   in           the             promoted

                           category                             to           the              satisfaction                                      of         the               employer,                               the

                           employee                              shall                be            retumed                             to       his/her                      fonner                    job.               If

                          the         former                         job            is        unavailable,                                      the           employee                              shall              be

                          returned                         to        a job               which                      is         equivalent                            to      his/her                    former

                          job,            at          the             rate               of         pay                  for            the           former                      job            plus
                                                                                                                                                                                                                 any
                           increase                         which                        he/she                      would                       have                  received                          in          the

                          former                       job                   pursuant                                to                 this               Agreement.                                            The
                          employee                               shall               retain                   full              seniority                        in          that             former                   or

                          equivalent                             job               category.                              In        the              event                 that            the          former

                          job        is        not              available                           and            no           equivalent                            job             is      available,

                          then            the              employee                              shall                   be         offered                      a        position,                      which

                          he/she                 has                 the
                                                                                   ability                  to           perform,                          at        the           same                 rate           of

                          pay             received                             in             the           job                 category                             from                   which                    the

                          employee                                was                pmmoted                                     plus                 any              increase                          which

                          he/she                      would                          have                     received                                in             the              former                     job

                          pursuant                         to        this           Agreement.



                b)        When                  it         is        desired                     to         fill           any                 vacancy                       occurring                          in         a

                          classification                                     within                   the            scope                     of       the           bargaining                               unit,

                          the
                                     following                               procedure                               will                be          observed,                             taking               into

                          account                          an          employee's                                         efficiency                             and                ability,                     and

                          except                      where                          these                      qualifications                                             are              materially

                          unequal,                          preference                                will                     be         given                  to          the             employee

                          who             has                   been                  in            the              employ                           of         the                College                       the

                          longest.




                     i)             All              job              vacancies                             shall                   be         posted                     by        the             College

                                    for              five              (5)           regular                         scheduled                               work                   days               on            the

                                    Human                             Resources                                    Office                      bulletin                       board.                          Such

                                    notice                           shall                    contain                               a          job               description,                                     the

                                    requirements                                           for            the             job,                 the           classification,                                    pay
                                    grade,                       and               the              salary                     range.                        Copies                         of       all         job

                                    postings                          shall                be         given                    to        Local                  2110               and           the           Unit

                                    Chair                       (by           hand)                    at           the             same                   time                that
                                                                                                                                                                                                 they             are

                                    posted.



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                                                                                         ARTICLE                                        VI

                                                                PROBATIONARY                                                                PERIOD


              1.                           hired                employees                               shall                      be        considered
                    Newly                                                                                                                                                          probationary
                    employees                          for            a     period                    of          ninety                     (90)         days                  from             the          date

                    they          commence                                employment


          2.        At       any        time                prior           to        the         end              of          any           employee's                           probationary
                    period                 of          employment,                                      the                  College                                            discharge                       the
                                                                                                                                                          may

                   probationary                                employee                           with                  or          without                 cause                  and           without

                   recourse                 by          Local                   2110             or         the         employee.




                                                                                        ARTICLE                                     VH
                                                                    MANAGEMENT                                                          RIGHTS


          1.       To         the          extent                     not             inconsistent                                   with            this             Agreement,                                the

                   College                      retains                    the           exclusive                                  right            to            hire,               direct,                 and

                   schedule                      the
                                                                working                          force;                      to         plan,             direct,                  and            control

                   operations;                            to          discontinue,                                      reorganize,                            or               combine                        any
                   department                          or           operation,                         with                   any            consequent                            reduction                        or

                   other              changes                        in         the          working                               force;            to            hire            and                          off
                                                                                                                                                                                                  lay

                   employees;                          to       promulgate                              mles                   and           regulations;                          to        introduce

                   new           or     impmved                            methods                      or         facilities,                      regardless                          of       whether

                   the       new           or         improved                          methods                          or          facilities                cause                   a     reduction

                   in      the                                                                                in             all                                     to                           out          the
                                       working                        force,                and,                                        respects,                               carry

                   ordinary                     and            customary                              functions                             of      management.                                        All          of

                   these          rights               shall              be      exercised                             in         a reasonable                            manner.



         2.        Local              2110,             on           behalf                 of        the          employees,                             agrees                  to       cooperate

                   with          the        College                        to      obtain                    and               maintain                     full                                               and
                                                                                                                                                                            efficiency
                   maximum                         services                       and             the              College                        agrees                   to      receive                    and

                   consider                 constmetive                                  suggestions                                    submitted                          by       Local                    2110

                   in     connection                           with             attaining                     these                  objectives.




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                            c)        Notify                     employees                             of            its        disapproval                                of         such          action

                                      and            instmet                      such            employees                               to        cease                such            action             and

                                      to     return                to         work               immediately.




                            d)
                                      Post            notices                       at      Local                     2110               bulletin                      boards                   advising

                                      that               it        disapproves                                        such                action                       and               instructing

                                      employees                              to      return              to          work               immediately.



        6.        Teachers                      College                           agrees                there                  shall             be            no        lockout                   of       any
                  kind           whatsoever                             during                   the          life         of      this           Agreement



        7.
                  Any               violation                       of              this               Section                         shall                 be          subject                   to        the

                  grievance                           and                    arbitration                               pmcedures                                    established                             and

                  described                     in       this           Agreement



        8.
                  Any             employee                          or             employees                               engaged                       in          an          unauthonzed

                  strike,               slowdown,                                 work                 stoppage,                          or           any             other              concerted

                  interference                            with                the           College's                              work                 in          violation                     of        this

                  Agreement,                              will               be          subject                      to        disciplinary                                action,                 at       the

                  discretion                         of            Teachers                             College,                               up            to            and                including

                  discharge.                         Such                disciplinary                                 action                   shall              be        subject                 to       the

                  grievance                     procedure.



                                                                                          ARTICLE                                  IX

                                                                                           JURY                      DUTY


        Any          employee                        who                is        called                for           and              serves                  on        jury            duty             shall

        receive             his/her              regular                      pay.               No           deduction                          shall              be          made             from             an

        employee's                      sick           leave,                  personal                       leave,               or          annual                  leave              as      a result

        of     any          absence                  resulting                        from              jury               duty.                hnmediately                               following

        receipt             of      a      subpoena                           or         other              notice                 to          report                for          jury           service,

        each         employee                        will           immediately                                       notify               the           Director                        of       Human
        Resources                     that           a        subpoena                           or           notice                   has             been              received.                         The

        College                  may           request                       that          the           employee                               be           excused                      from            jury

        duty         or      that          his/her                 jury               duty              be           postponed                           if,        in          its      discretion,


                                                                                                              23
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                                                     ARTICLEXI
                                                 WAGERATES



         1.         IncreaseRatesVaryEachYear



              Marchl,2007Increaserateat3.5%



               GRADE            Minimum         5+                   10+          15+        20+

                                                seniority            seniority   seniority   seniority
               4                $31,580         $32,764              $33,993     $35,266     $36,590

               5                $32,647         $33,872          $35,142         $36,459     $37,828

               6                $33,718         $34,980          $36,290         $37,653     $39,065

               7                $34,783         $36,086          $37,442         $38,847     $40,302

               8                $35,929         $37,277          $38,672         $40,121     $41,628

               9                $37,074         $38,465          $39,904         $41,400     $42,951

               10              $38,217          $39,650          $41,135         $42,680     $44,280



              Mamh1,2008                        Increaserateat3.5%



               GRADE           Minirnum         5+               10+             15+         20+

                                                seniority        seniority       seniority   seniority
               4               $32,685          $33,911          $35,182         $36,500     $37,871

               5               $33,790          $35,058          $36,372         $37,735     $39,152

               6               $34,898          $36,204          $37,560         $38,971     $40,432

               7               $36,001          $37,349          $38,753         $40,206     $41,712

               8               $37,187          $38,581          $40,025         $41,525     $43,085

               9               $38,371          $39,811          $41,301         $42,849     $44,455

               10              $39,555          $41,038          $42,575         $44,174     $45,830

                                                                                                                 3




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         A.      Salaries                   and          minimums                         will               be          increased                   in       each              year          of       the

         agreement,                        as      pmposed.



         March                 1,    2007:                                                                   3.50%
         March                 1,    2008:                                                                   3.50%
         March                 1,    2009:                                                                   3.25%
         March                 1,    2010:                                                                   3.50%
         March                1,     2011:                                                                   3.00%


         B.      Prior              to      the        application                        of           the          3.5           percent                  increase                    effective

        March                 1,     2007,            the        amount                  of       $200                   shall         be      added,                    on       a one-time

        basis,            to         the          base          rate           of    pay               of         all
                                                                                                                                bargaining                        unit            employees

        who             have               completed                       five           years                    of           service               (but               less          than            ten

        years)            as         employees                         with          Teachers                             College               on           or          befoæ             March

         1,     2007.



        Prior            to         the           application                       of           the             3.5             percent                  increase                     effective

        March                 1,    2007,             the        amount                  of       $300                   shall        be      added,                     on       a one-time

        basis,           to         the         base            rate           of    pay               of         all        bargaining                           unit            employees

        who         have                  completed                      ten        years                   of          service              (but            less             than        twenty

        years)            as         employees                         with          Teachers                             College               on           or          before            March

         1,     2007.



        Prior            to         the           application                       of         the               3.5             percent                 increase                    effective

        March                 1,    2007,            the         amount                  of       $400                  shall         be      added,                     on       a one-time

        basis,           to         the         base         rate             of     pay               of         all
                                                                                                                             bargaining                           unit            employees

        who         have                 completed                     twenty                 yeam                 of       service                 (but           less           than        thirty

        years)            as         employees                         with          Teachers                             College               on           or          before            March

         1,     2007.



        Prior            to         the           application                       of         the               3.5             percent               increase                      effective

        March                 1,    2007,             the        amount                  of       $500                  shall         be      added,                     on       a one-time

        basis,           to         the         base         rate             of     pay               of         all
                                                                                                                             bargaining                        unit               employees

        who         have                 completed                       thirty            years                  of        service                 as       employees                             with

        Teachers                    College                 on      or      before                March                      1,     2007.


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        Prior             to           the          application                           of         the           3.25               percent                    increase                           effective

        March                  1,      2009,             the           amount                   of       $300                 shall            be       added,                        on       a one-time

                           to          the          base           rate              of                       of        all                                                    unit            employees
        basis,                                                                                 pay                                  bargaining

        who              have                completed                         ten         years                  of      service                      (but               less             than         twenty

                             as         employees                         with                 Teachers                        College                     on             or          before              March
        years)

         1,     2009.



        Prior             to           the          application                           of         the           3.25               percent                      increase                         effective

        March                  1,      2009,             the           amount                   of         $400               shall            be         added,                      on       a    one-time

        basis,            to           the          base           rate              of        pay            of        all         bargaining                                 unit            employees

        who           have               completed                        twenty                     years               of         service                   (but              less           than           thilty

        years)               as         employees                         with                 Teachers                        College                     on             or          before              March

         1,     2009.



        Prior             to           the          application                           of         the           3.25               percent                      increase                         effective

        March                  1,      2009,             the           amount                   of         $500               shall            be         added,                      on       a    one-time

                          to           the          base           rate            of                        of         all                                                    unit            employees
        basis,                                                                                 pay                                  bargaining

        who           have                   completed                         thirty
                                                                                                     years               of         service                   as           employees                            with

        Teachers                       College                  on        or       before                  March                    1,      2009.



        E.       Effective                      3/1/1995,                       Grade                    10        is     added                   as       a new                       classification

        whose                  duties               include                  the          distribution                              and           follow                       up       of         work            and

        necessary                        training                of       other                members                         of        the        work                  team.



        2.                              employee                          who                  works                                                               in            a         higher                paid
                    Any                                                                                                 temporarily

                    classification                                shall               after              working                           five           continuous                                  days,              in

                    such               higher              classification                                  be          paid           the         difference                               between                     the

                    employee's                                 then             current                       classification                                  base                     rate           and              the

                    higher                    classification                              base             rate           during                    the         time                  he/she              works

                    in         such             higher                 classification,                                   but          in          no       event                      less         than           five


                    ($5.00)                    dollars                 per         week.



        3.          The                College                  will           not             require                  any              bargaining
                                                                                                                                                                                 unit              employee

                    to          fill          the        position                         of         a     supervisor                              due               to          a         supervisor's

                                                       absence.
                    temporary




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                     so         as        to         achieve                    this           end                 and            should                 not              be          construed,                             in        any

                     way,                  to         limit                  informal                         discussions                                   between                              any               employee

                     and             representatives                                          of      the             College                       which                      may                be          utilized,                   as

                     in         the              past,                  for            the            purpose                             of           resolving                                  disagreements

                     before                     they             achieve                      the          status                  of      formal                        grievances.




         2.                          If                                 dispute                          arises                                                                        the
                      a)                             any                                                                                concerning                                                          application,

                     interpretation,                                          effect,                    purpose                          or            breach                         of              any             term               or

                     condition                              of          this            Agreement,                                       the            parties                          shall                 attempt                    to

                     settle                     and                adjust                     the                  dispute                        in           accordance                                           with               the

                     following                             procedures:




        STEP               1.         The              grievance                             shall                 be         presented                        orally                       or         in         writing               by
         an         authorized                                   Local                   21          10              representative                                            to            the                  grievant's

         immediate                              supervisor                              within                       a        reasonable                                 time.                      The               grievant

                      be             present                       at         such                 time.                      The              grievant's                                  supervisor                             shall           .
        may
        respond                      to          the             grievance                            orally                      or         in         writing                            within                     ten          (10)

        working                      days                  from               the        day               of         its         original                   presentation                                          (response

        must          be         written                      if        the          grievance                              is     in     writing).                              If        the              grievance                        is

        not          satisfactorily                                       settled                        or              withdrawn                                  at
                                                                                                                                                                                    Step                     1,        it         shall

        immediately                                  be       subject                   to         the             pmvisions                            of          Step               2.




        STEP               2.             Within                        ten          (10)             working                             days               the               grievance                              shall             be

        presented                          either                                              or             in                                                         Local                     2110's
                                                                      orally                                               writing                      by                                                                        Shop
        Steward                      or         one              of       the           authorized                                 Local                   2110                  representatives                                          to

        the         Head                  of         the           Department                                   in          which                 the          grievance                                    arose.                 The
        Department                               Head                   shall            respond                            either                orally                  or          in         writing                    within

        ten         (10)             days                  (response                           must                      be        written                     if         the               grievance                             is      in

        writing).                               If          the               grievance                                  is         not
                                                                                                                                                       satisfactorily                                          settled                    or

        withdrawn                               at         Step                 2,       it          shall                    immediately                                      be            subject                        to         the

        provisions                         of         Step              3.




        STEP               3.                  Within                     ten           (10)                  working                          days                  from                        receipt                    of         the

        response                     required                           by           Step            2,         the              grievance                          shall                  be          presented                          in

        writing                 by             Local                  2110's                  Shop                   Steward,                          or       one                 of           the          authorized

        Local              2110                 representatives                                          to          the          Director                          of         Human                           Resources


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                          b)        If        the                grievance                                 is           not                                                           settled             or
                                                                                                                                          satisfactorily

                       withdrawn,                           the            College                     may                  have               the        matter                  arbitrated              in

                       accordance                          with             provisions                               of       this          Article.



         4.        The          time          limits                  set          forth              in         this            Article                  may          be         extended              by
                   written                agreement                           of        the           parties.                     All          time         limits                specified              in

                   this        Article                   shall             be        deemed                          to          exclude                  Saturdays,                         Sundays

                   and         legal          holidays.




        5.         A           grievance                              in            which                            the             College's                          representative

                   designated                       in       Steps                  1      and             2      lacks                                           to        settle                      be
                                                                                                                                     authority                                                 may
                   presented
                                               initially                     in         Step                3        by          Local               21    10.          The            College's

                   representative                                 shall                    inform                          the             authorized                         Local                2110

                   representative                                in        the          event                    that              the          College                 representative

                   lacks          authority                      to        settle             the           grievance.




                                                                                    ARTICLE                                      XIV
                                                                                           HOLIDAYS


              l.
                           Every             employee,                              regartiless                              of          the         department                         in      which

                           he/she             is     employed,                              shall                receive                       each        year             the        following
                           paid          holidays:




                                                          New               Year's                    Day


                                                          Martin                    Luther                      King,              Jr.         National                 Holiday



                                                          The              Friday                of         the            Academic                                                Vacation
                                                                                                                                                           Spring



                                                          Memorial                          Day



                                                         July              4th



                                                         Labor                   Day



                                                                                                                33
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                between                      Christmas                              Day                and             New                 Year's                    Day,              or       the


                ensuing                    business                        days           between                       New                 Year's                   Day           and          the

                next             Saturday.                           In      the          event               that            an         employee                           is    required
                                                                                                                                                       days"
                to        work             on       days              designated                            as       "vacation                                               during
                                                                                                                                                                                                the

                aforementioned                                            holiday                     period,                  the               employee                          will             be

                compensated                                at        time           and           a     half            for           each            hour            worked                   and

                will          be      able           to         use          his/her                  vacation                     day(s)                at        another                  time.            [

                In         the        event                 that              the          College                       does                  not        recognize                            said

                period                as        a    vacation,                           then           he/she                    will           not          be        required                    to

                schedule                    and            use             vacation                    days             at        that           time.               The           College

                further                   agrees                 to          advance                         vacation                        time             to           any            newly
                hired                employee                              with              insufficient                                 vacation                         accrual                  to

                cover               the         days             of         closure                   for         the         aforementioned                                       holiday

                vacation                      period.                       Employees                                who                  wish                to           be         off           on

                Election                    Day            may                schedule                        and             use           an        accrued                     personal


                (floating)                          holiday                         or           an               accrued                        vacation                          day              in

                accordance                                with                 the               provisions                                 of           the                 Collective


                Bargaining                          Agmement


           4.   HOLIDAY                              WORK
                If        holiday                 work                becomes                         available,                         the          incumbent                           in    the

                position                   will            be             offered                 the            opportunity                             to         work               before

                                    outside                 the                                                unit.
                hiring                                                     bargaining



           5.    PERSONAL                                  HOLIDAYS

                 a)         Must              be           used               between                         July
                                                                                                                                  1       and            June                30        of       the

                            current                 plan             year           or      they             will            be          forfeited.




                 b)          Minimum                             notice                    for              Personal                        Days                   shall              be        the

                 previous                   day.




                                                                            ARTICLE                                 XV
                                                     BEREAVEMENT                                                        LEAVE


           1.        In     the           event                 of          death                in         the         immediate                                  family                 of        an

                     employee                        (parent,                         gmndparent,                                        grandchild,                               bmther,


                                                                                                 35
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         2.   No           allowance                          for           sick              leave                 is        granted                     for           service                     during                an

              employee's                               probationary                                    period.                          When                    the          service                    extends

              beyond                    the           pmbationary                                  period,                      retroactive                              cudit                 is     granted.




         3.   Sick                   leave              not            used                       may                be              accumulated                                       for           up             to          a

              maximum                            of        80       working                          days.




        4.    Sick              leave
                                                     may            be         used                  for           absence                         due           to         actual                  illness                 of

              the              employee                           and              scheduled                                   doctor's                         appointments                                        with

              prior              (at         least          24         hour)                   notice.                         A       reasonable                                amount                   of         sick

              leave              may             be        used               when                   the           employee's                               presence                           is     required

              at      home                   because                     of            the           serious                        illness               of           a     family                   member

              requiring                         his         or         her             care.                An            employee                              on           maternity
                                                                                                                                                                                                               leave

              shall              be           allowed,                        at            her            discretion,                               to         use               sick              leave                (in

              conjunction                              with            disability                           benefits).




              Notification                              of          absence                          due                 to         illness                 should                       be          made                 on

              each                   scheduled                           work                      day                   as
                                                                                                                                     early                 as              possible                       to             the

              employee's                                immediate                                  supervisor,                                unless                       the           employee                              is

              able              to      ascertain                       that                the        illness                       will           exceed                        one           day           at         the

              time              he/she                 communicates                                           with                  the            College                       and           so       notifies

              his/her                   supervisor.                                    Employees                                    may              be          asked                    to         submit                     a

              medical                        certificate                       or            other                 similar                    evidence                            to         substantiate

              the          illness                after             three                    or       more                    consecutive                                  days                of      absence

              or      if       an       employee                            has             a pattern                          of      absences.                                 In      addition,                       the

              College                        mserves                        its             rights                  to          have                 an           employee                              who                 is


              actually                    working                        and                who              appears                        to       be          ill        to         be           examined

              by           a         Physician                         of          its             own               choosing,                              who                   may                send                the

              employee                          home.



        5.    At           mtimment,                              as          defined                         in              the           non-academic                                            employee

              pension                    plan,              the         College                            shall               pay            to      the              retiring
                                                                                                                                                                                                    employee

              an           amount                      equal                  to             one-half                           of          the            retiring
                                                                                                                                                                                             employee's

              unused                   sick            leave             up            to      a maximum                                      of      forty                 (40)             days,             at        the        .

              rate         of         pay         in       effect                 at        that           time.




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        election               within                   two              (2)         years               of          the          date           on         which               they            become

        eligible              for         the        bonus.



         4.                 a)           Vacations                         shall              be         scheduled                              according                      to       bargaining

                                       unit             seniority
                                                                                         but             in           a      manner                        consistent                          with              the

                                         adequate                    functioning                              of          the          College                  operations.




                            b)            Vacations,                           once              scheduled                             and            approved,                       may             not           be

                                          changed                        except                  by           mutual                       agreement.                           Requests                         for

                                          annual                 vacation                        shall                be          in          writing                 and           approved                        in

                                          writing.




                            c)            Vacation                               scheduling                                       requests                            shall                    not                  be

                                          unreasonably                                denied.




                            d)            Employees                                 shall             give                  at           least             one           day's                  advance

                                          notice              for         three               days              or         less          of      vacation.




                                                                                      ARTICLE                                   XVIII

                                                                                         WORK                          WEEK

                                                                                                                mgular                     work                 week                      each              full-
        1.         Except                   as       noted                below,                   the                                                                         for

                   time             employee                         shall               consist                     of         seven              (7)          working                   hours                per

                   day           for          five        (5)
                                                                     consecutive                                 days.                   The            work            week              begins                  on

                   Monday                        and          ends             on        Sunday.



                   In       addition,                        each               full-time                        employee                               shall          be           entitled                to         a

                   meal                  break                not              to           exceed                        one             (1)            hour            for            which                    the

                   employee                          shall           not            be        paid.




        2.         Each                employee                          shall              be        entitled                      to         take             one         15-minute                          rest

                   period                     during                 the              first              half               of           each              employee's                                regular


                   working                       day.               In         addition,                      each                full-time                      employee                        shall              be

                   entitled                   to       take          one              15-minute                             rest          period                 during                 the          second

                   half             of        each              full-time                        employee's                                   working                   day.                   On        short



                                                                                                                 39
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                         31,           subject                    to          the                                                                that          the              employee
                                                                                            understanding

                         may            not           enroll                  for       more                 than           6 credits                         during                  each                 of

                         the         Autumn                       and               Spring               semesters                              and           no        more              than                  3

                      credits                  in        either                of      the           summer                      terms.                    However,                          point

                                                           will               apply,                                                       it      does              not            interfere
                         flexibility                                                                 providing
                      with               the          efficient                       operation                        of            the          department                                and             is

                      approved                           by        the          applicable                          department                                head.




                                 (i)           Any                full-time                          employees                                   hired                on            or          after

                                 April              28,           2004                shall            become                        eligible                   for         the           tuition                   ,

                                 exemption                               only               after             the           expiration                               of         6     months
                                 from               their                date              of        hire.                 For             all          such               employees,
                                 the       allowance                                shall            pmvide                     a     total              of        12       credits                  per

                                year             at         Teachers                            College                    or         9          credits                  per            year              at

                                Columbia                               for            September                                 1      through                            August                     31,

                                subject                     to           the                                                                    that           the              employee                            .
                                                                                        understanding

                                may             not           enmil                   for        more               than              6 credits                         during                each

                                of       the           Autumn                         and             Spring                 semesters                             and              no       more
                                than            3 credits                       in      either                of     the             summer                        terms.




                c)   Tuition                     exemption                                  allowance                           is     granted                        only               during
                     the               semester                          of          employment                                      and                may                neither                     be

                     deferred                       nor           made                retroactive.




                d)   If        the       student                    is                                                     employed                            for          less          than                  a
                                                                              continuously
                     full              term,               the            tuition                     exemption                                  allowance                           will             be

                     pm-rated.




                e)   All              except                  fee-based                              courses                    and               restricted                         courses

                     listed               in        the           Registrar's                           Office                   are             open              under                 tuition

                     exemption.



                f)   All             part-time                     employees                                 who           are             admitted                        to
                                                                                                                                                                                    study                  in

                     a degree                       granting                         program                       shall              be          eligible                  to       receive

                     3      points                  of        tuition                  exemption                             during                      each               of       the            fall

                     and               spring                  tenns                  at         Teachers                            College,                         of         which                      2


                                                                                                41
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                                      University                               the                total                 amount                            of          the                  tuition


                                      scholarship                              awanted                           may                  not               exceed                  the               total

                                      dollar               amount                          for            which                   the             student                    would                        be

                                      eligible                 on         a    full-time                         basis            over                  a 4-year                  period.




                 c)        A       full-time                         employee                              who                  was               hired               on             or           after

                           March                  1,       1980                and                who                 has         completed                              five               (5)           or

                           more             years              of         full-time                       service                 with                  Teachers                     College

                           immediately                               preceding                            the          filing               of          the        application                               is

                           eligible                to          receive                     fmm                  the         College                        a     partial                   tuition


                           scholarship                               for              each                      dependent                                  child                  formally

                           admitted                       to          an             undergraduate                                          degree                    program                             at

                           Columbia                        or         at        any                other                non-Columbia                                         accredited

                           institution.




                      i)              The          amount                       of         the            scholarship
                                                                                                                                                   at         Columbia                           or       at


                                      any          non-Columbia                                           accredited                              institution                         will                be

                                      the        cost           of        tuition                  for          the         academic                           year          or       35%                 of

                                      the        basic               tuition                     fee        at         Columbia                               College                     for          the

                                      academic                        year,                 whichever                              is           less,           subject                     to         the

                                                                                           that                 the             tuition                                                                      is
                                      understanding                                                                                                            scholarship

                                      available                      to        full-time                         and            part-time                        students                        for           a

                                      maximum                             of     120              credits,                  or          the         number                      of         credits

                                      required                       by         the              institution                          to          complete                           the           four

                                      year                degree.                                   The                  credits                         are             cumulative

                                      thmughout                                  one's                          college                            career                       including

                                      transfers                     from             one            institution                            to      another.




                      ii)             Ifthestudent                                    is         attending
                                                                                                                                  college                      on        a      part-time

                                      basis             the           total                amount                      of        the             tuition                 scholarship

                                      awarded                        may             not            exceed                      the             total           dollar                amount

                                      for        which                the            student                     would                   be         eligible                    on          a full-

                                      time             basis           over                a 4-year                    period.




                d)         A       full-time                         employee                              who                  was               hired               on             or           after

                           March                  1,       1980                and               who                  has         completed                              five               (5)           or


                                                                                                 43
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                                                                                            ARTICLE                              XX
                                                                                                 PENSION


            The           College                       agrees                 that           its            pension                     plan                     for          non-academic

            employees                      shall             be        maintained                           as        the       terms                  of     the             plan              existed               on
            March                1,          1980,                  and            as        amended                             on          July                   1,         2006,                    on          the

            understanding                                that           any               increased                          level            of            benefits                       applied                    to

            employees                      not           covered                    by        this           Agreement                                 resulting                         from              future

            amendment                              to          such               pension                         plan               shall                  also
                                                                                                                                                                               apply                    to          the

            employees                      covered                     by         this       Agreement.                                 The                 College                      will           furnish

            Local           21        10       a        copy            of        any         proposed                           amendment                                    to         the         pension

            plan         which             has           been             submitted                         to        the       IRS           for           approval.




            Upon            vesting                     (completion                              of         five             years                of         service)                          an       annual

            statement                 will              be      issued               to      each            employee.



.                                                                                         ARTICLE                               XXI
                                                                            LEAVE                       OF ABSENCE


            Employees                        shall             be       eligible                 for         an          unpaid                    leave                 of        absence                    after

            nine         (9)      months                        of        continuous                              service                in            accordance                                 with            the

            following:




            l.       Child             Care               Leave---All                            employees                            are           eligible                       for          child          care

                     leave.                  The             date         of        the       commencement                                              of        the          leave                 shall            be

                     mutually                      agreed                 upon              by        the          employee                         and             supervisor.                              Child

                     care         leave                 will           be         granted                   for          a    period                   not          to         exceed                   six         (6)

                     months.



            2.       Military                      Leave-Leaves                                       of          absence                    for            the          performance                                  of

                     duty              with                  the          U.S.               Armed                           Forces                    or           with                  a         Reserve

                     component                               thereof                shall              be          granted                   in         acconiance                                  with          the

                     applicable                         law.




            3.       Union                   Business-A                                     leave                  of          absence                        for              a         period                   not

                     exceeding                          a total              of      five         (5)            days           per          year             shall                be       granted                   to



                                                                                                                 45
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                                                                                ARTICLE                                    XXH
                                                            PART-TIME                                         EMPLOYEES


         1.   Part-time                      employees                              shall            receive                       wages                 and           wage                   increases

              provided                      for        in       this           Agmement                                  on        a pro-rata                          basis              and,            as     in

              the        past,               shall              be           entitled                    to         membership                                    in      the             College's

              non-academic                                         pension                            plan.                         In                addition,                            part-time

              employees                            shall           receive                    the             following                           benefits                   on           a     pm-rata

              basis:             vacation,                        sick              leave,               holidays,                             tuition                 exemption                          (See

              Article             XIX)                  and            Health                 Plan                 coverage                        as      contained                            herein.




        2.    Except                  in           emergencies,                                    any               work                      connected                        with                 a         job

              performed                           by        a full-time                         or        a        part-time                          employee                        as         defined

              herein             as         of         March                   1,       1973,                 or         thereafter                       shall           be          performed

              by        an        employee                               within                    the              bargaining                             unit              only,                on           the


              understanding                                 that          this           provision                            in      no          other
                                                                                                                                                                       way           is       intended

              to    reduce                   or        otherwise                         affect                    the        College's                          rights               as         defined

              in    Article                  VII           of      this             Agreement.



                                                                               ARTICLE                                    XXIV
                                                                               HEALTH                                    PLAN
.

        1.    The         College                       agrees                  to
                                                                                         pay             directly                         to       GHI             premiums                              for         a
                                                                                                                                                                                                    Plan."
              medical                  insurance                              program,                             the             "GHI                  Local                 2110

              Premium                       payments                           will           be          at         90%                  of      the           established                          rates;

              the        final               10%                will             be          paid                  only              if         the
                                                                                                                                                             gmup                    experience

              requires                it.




        2.    GHI         will              perfonn                    all          administrative                                    services.                        Both               the       Union

              and        the       College                        reserve                    the          right               to          investigate                          and             question

              claims             and              individual                          covered                       services.                                                                                             1




        3.    GHI         will              maintain                      separate                       records                     on          the        claims                   experience

              of    the          Teachers                          College                    employees                                   and            will           provide                     to         the




                                                                                                         47
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               paying               the             established                              premium                         contribution                                  beyond                    the         cost

                for       individual                             coverage.




                Effective                      March                         1,     2004,             the        College                         agrees                  to        pay          up        to      $75

                per         year               per               employee                           for          out-of-pocket                                           vision                 costs              not

                covered                        by                the                College-provided                                                  vision                       care              plan(s).

               Appropnate                                      documentation                                     of          unreimbumed                                           costs             will              be

                required.                           If          the           $75            per          employee                               amount                       is       not           used,               it

               may           not
                                         carry                   over               into        any            subsequent                                  year.




         10.    For        the       life            of          the          Collective                         Bargaining                                 Agreement                             between

               the        College                        and            Local                2110,              the           College                        agrees                   to       reimburse

               annually                       actual                     premium                          expenses                            incurred                        by           an        eligible

               bargaining                                unit                retiree,                  subject                     to            a         per            retiree                 limit                of

               $1,000                    for
                                                           any                eligible                    employee                                   who                 retired                  between

               March                1,         1998                   and           February                     28,              2001                and            a per             mtiree                  limit

               of      $1,500                   for              any              eligible                retiree                  who                retires                 after             March                   1,

               2001,               up           to               a       total               annual                   maximum                                    reimbunement                                          of

               $40,000                   for             all          eligible                retirees                  in         any            one              year.               Said           benefit

               shall         be          payable                         to         any         employee                            retiring                       on         or       after            March

                1,       1998,              who                   has              attained                    age           65             and             has            worked                     for          the

               College                   for             at          least            15       prior             years,                     or        who                has          attained                    age

               55      and          has             worked                          for      the          College                      at        least             30         prior             years.                 In

               addition,                       this                  benefit                  shall              be               payable                          to         any              employee

               retiring              on             or          after               Mamh                  1,     2001,                      who              has           attained                   age              62

               and         has       worked                             for          the       College                       at     least                  20        prior             years.                   Said

               benefit               shall                      be           payable                     only               to          those                   retirees                     who               have

               retired,              who                      have                actual               annual                     premium                               expenses                      for         the

               pumhase                         of              individual                          health                   insurance                              and             who               are          not

               eligible                  to              panticipate                            (as            either                   a         covered                          employee                            or

               dependent)                                under                     any         other
                                                                                                                      group                      health                    insurance                           plan,

               except              Medicare.                                 In      the       event                 that          a        retiree                 is     covemd                     by         any
               other
                                   group                        health                     insurance                         plan                    (as           either                  a      covered

               employee                        or              dependent)                           at         the          time                 of         mitial                 retirement                          or

               thereafter,                      but                  subsequently                                loses                 that            coverage                            during                 the

               life        of       the                  Collective                           Bargaining                                Agreement,                                     said             retiree



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        3.   Discipline                         will             take           the          form               of          verbal                or      written                     warnings,

             copies              of          written                    warnings                       to      be           provided                     to         Box           20         and           the

              Local             2110                 headquartem                                at          113           University                          Place,                  5th         Floor,

             New             York,               NY               10003.




        4.   A        written                   warning                        from              which                      no         other             discipline                         derived

             within              the            subsequent                            two            (2)        year              period                 following                          the      date

             on        which                  the
                                                            warning                       was               issued                to        an          employee                        shall              not

             be       considered                            as      part            of     the              employee's                             pemonnel                           record               for

             the          purposes                     of        this          Article                 or      Article                      XXXIV.



                                                                               ARTICLE                                XXVII
                              JOB                DESCRIPTIONS                                                       AND                PAY               GRADES


        1.   Any            employee                         who               believes                      that           his/her               job          description                          does

             not           accurately                         describe                       his/her                      present                   duties                     may           request

             the            Director                         of           Human                             Resources                             in           writing                      on             the

             appmpriate                                form               to         determine                              whether                       or             not          he/she                   is   .

             misclassified.                                 The            request                   shall                be      forwarded                           by         Local             2110
             to      the        Director                      of          Human                      Resources                              and          Department                               Head.

             Within                    thirty                 (30)               days                of             submitting                            this                 request,                  the

             Director                   of           Human                     Resoumes                              will              inform                 the          employee                         of

             the          Director's                        decision.                      In        the            event               of        a disagreement                                     with
                                                                                          Resources'
             the       Director                       of      Human                                                              decision                      Local                  2110           may
             submit                    the                 matter                   to           arbitration                                as           provided                           in          this

             Agreement



        2.   If     the       final             decision                       results                 in      reclassification                                     to         a higher                 pay
             grade,               whether                            it        is         made                      by           the             Director                        of         Human
             Resouses                           or      by          an         arbitrator,                          the        employee                          shall             receive                  an

             increase                   in       his/her                   annual                 base                rate             of      pay            by          an       amount                   of

             five          percent                     (5%)               or        the         rate           specified                          for         the          wage              step
                                                                                                                                                                                                             to

             which              an           employee                          is     promoted,                              whichever                           is       greater,                 as       of

             the      date            of        the         promotion.




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                                                                                    ARTICLE                            XXX
                                                                             PERSONAL                                 WORK

                            No           employee                        shall              be        required                     to         do         personal                    work               for

         his/her            supervisor                      or          for
                                                                                    any          other             employee.                             Some              examples                      of

         this       are                             coffee,                                            personal                                                  and       babysitting.
                             serving                                          running                                              errands,



                                                                                   ARTICLE                            XXXI
                                                                                   RESIGNATION


                 An         employee                        who                resigns                     shall            give              the           College                   two             (2)
                 weeks'
                                        advance               notice.




         An        employee                    who          gives                  notice             of        resignation,                         as          provided                   above,
         or      whose              employment                                is     terminated,                        shall                 be         entitled             to           receive

         payment                  for       unused                     vacation                      time          accrued                    on          the        effective                  date

         of        the       resignation                          or           termination.                            If          notice                   is       not          given                  as

         provided                   above,                  an           employee                            shall            not              be          entitled                   to        such

        payment,                    provided                      it          was           possible                    for             the          employee                         to        have

         given            such          notice.




                                                                                   ARTICLE                           XXXII
                                                  PERFORMANCE                                                      EVALUATION


                            Any             perfonnance                                  evaluation                           of         an              employee                                    the
                                                                                                                                                                                       by
         College                 will          be       shown                       to         the          employee                          and            initiated                     by        the

         employee.                       The        initialing                      by         the         employee                       means                   that       he/she                  has

        read         the     evaluation                       and             does             not         mean             acceptance.




                                                                              ARTICLE                              XXXIII
                                                                             FRIDAY                         CLOSING


         1.         Consistent                      with               the          adequate                                                               of        the         College's
                                                                                                                   functioning

                    operations                    and            subject                  to         the        pmvisions                           of      Article                  VII        full-

                    time                employees                             in
                                                                                         bargaining                            unit                job              classifications

                    covered                 by       this              Agreement                             as      defined                   in          Article               I     will             be


                                                                                                           53
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                                                                                    ARTICLE                               XXXV
                                                          LUNCH                         AND               DINNER                           MONEY

.
             Any            employee                     working                   on         a Saturday,                         Sunday                  or       holiday,                   which

             is      not       a      regularly                         scheduled                       work-day,                          shall            receive                   $5.00                as

             lunch           money.



             Any           employee                     required                   to        work             after         7:00             p.m.           or      more              than          two

             (2)      hours           past
                                                     regularly                     scheduled                          quitting               time,               which             is    not          the

             employee's                        regularly                       scheduled                            work-time                        and             one           which                   is

             being           paid            in         accordance                           with             the         overtime                    provisions                         herein,

             shall          receive                  $10.00                 dinner                 money.                        At        times               when               meals               are

            provided                   to         the          college                     employees                             working                    after              7:00               p.m.,

            employees                        will              be          given                  the          option                   of                                        the             meal
                                                                                                                                                    choosing
            provided                  by          the          college                  or        the          meal               voucher,                     but         will          not              be

            provided                  with              both             the       meal                 and         the          meal              voucher.                    The           above

            employee,                      working                      beyond                9:15            p.m.          shall            also         be        entitled                 to     taxi

            fare       in     amount                    not        to      exceed                 $15.00.




                                                                                ARTICLE                                XXXVI
                                                        SUCCESSORS                                         AND               ASSIGNEES


                               This          Agreement                             shall           be         binding                 upon            the         successors                        and

            assignees                 of       the        College.




                                                                               ARTICLE                                XXXVH
                                                                      SEXUAL                         HARASSMENT


                              Teachers                        College                   is        committed                           to      the         principle                     that          no

            employee                   shall             be        subject                   to     sexual                harassment,                            which                includes

            unwanted                  verbal                  or        physical                  sexual                attention.                   In      the         case           of        such

            harassment,                        an        employee                          may            pumue                   the         grievance                        procedure.

            Grievances                      under              this         Article                will         be        processed                       expeditiously.




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                                                                          ARTICLE                             XXXIX
                                                                   NEW TECHNOLOGY

         1.   The            College                      shall                  notify                Local                 2110                 when                  the           college

              becomes                         aware                       that              the             introduction                                 of             new               office

              equipment                         will              substantially                             change                     an         employee's                             job          or

              result          in        the       elimination                              of      a job.                 The          College                   will          endeavor

              to      provide                  training
                                                                           for         such            affected                    employees                           so      they            may
              learn          to     use          the           new           equipment



                       a)         Special                      courses                     shall            be            set          up         by           the            Computer

                                  Center                 as         the           need             arises,                 and            participation                             in         such

                                  courses                 shall             be         offered               to          Local             2110           members.



                                  Appropriate                                                         of     skills               shall            be         decided                    by      the
                       b)                                                 grading
                                  College                        after                consultation                                with              Local                    2110               and

                                  appropriate                            wage              increases                      shall           be       given.




        2.    Employees                          working                           continuously                                 on             VDTs                  shall            have               a

              break           of        ten       minutes                        to       do       non-VDT                            work           during                   each             hour

              of    VDT              work.



        3.    Employees                         shall             be       entitled                   to    take            CIS                computer                      workshops

              which               are         related                to          work              done             at     the           College,                     at      no        charge

              providing                       they             do          not            interfere                   with               the        operations                           of        the

              department.                                 The               College                        shall                not             unreasonably                                  deny

              granting                  time            off        to      employees                          for         this           purpose.




              The            College                      will              endeavor                         to           purchase                       equipment                              and

              furniture                 with             appropriate                             ergonomic                         design                for           use         by         VDT
              operators,                  including                         proper                 lighting                  where                possible.




        4.    The           College                    shall             institute                  adequate                       training                    for           employees

              for       any         hardware                        and               software                 system                     it     uses.           Such              training

              for       employees                         shall             be          conducted                         on          work           time.                   The          Work




                                                                                                      57
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                                                                          ARTICLE                                      XXXXIII

                                                                                                  ATTIRE


         Consistent                  with           the         mission                          of        the          College,                      employees                              will             wear

        appropriate                   attire             at     their             workplace.




                                                                          ARTICLE                                      XXXXIV
                                                                CHILD                            CARE                        SUBSIDY


        The       College                  agrees              to        make                         $41,000                      for         year           2007,                  $42,000                        for

        year          2008,                $43,000                       for               year                 2009,                  $44,000                        for            year                 2010,
        $45,000               for          year          2011             available                              to         be     distributed                             as        a     child               care

        subsidy              to      eligible                  employees                                   with              dependent                            children                     who                 are

        twelve          years               of     age          and             under,                     in         accordance                             with           the
                                                                                                                                                                                            following
        rules:




        1.        ELIGIBILITY


                                                                                                                                               child"
                        a)          The           definition                          of      a "dependent                                                            is        as       follows:                         a
                                                                         child"
                                    "dependent                                                    includes                        a      natural                  child              or       a legally

                                    adopted                    child,                  or        a         dependent                           child               who               lives               in        the

                                    same                household                                as         the             eligible                      employee                           and              who

                                    may            be         taken              as         a dependent                                  of         the       eligible                     employee

                                    pursuant                        to           the                  provisions                               of          the              U.S.                Internal

                                    Revenue                     Code.                       In         order                 to
                                                                                                                                      verify               dependency                                status,

                                    the           College                      will              request,                         as      part               of       the             application

                                    pmcess,                    that              employees                                   provide                      documentary                                    proof

                                    for          each          child              for            whom                       an     employee                           seeks                 a subsidy

                                    payment.                             The                proof                     required                                the               College
                                                                                                                                                    by                                                        may
                                    include,                     but                  not              be              limited                                    a                                 of             the
                                                                                                                                                    to,                     copy
                                    employee's                            tax               return                    for         the          prior               year                  evidencing
                                    that           the          child                   was                claimed                        by           the            employee                                as          a

                                    dependent,                           a            certified                         or         original                       birth                  certificate,

                                    adoption                           order                          or               other                   legal                   documentation

                                    evidencing                           dependency                                    status.                  An           affidavit                       from                  the



                                                                                                            59
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                       receive                a         full           payment                           for        that               child,                 irrespective                             of

                       when             the              child                    became                      eligible.                           For             example,                       if         a

                       child           of       an             employee                           is      born              on             October                        14       (the          day
                       prior           to      the              application                              deadline),                             the          employee                          shall

                       receive                a         full           payment                          for        that                child                for          the       relevant

                       year.




                  b)   In       the          event                    that           the           number                        of             eligible                       employees

                       and/or               children                         renders                    the         total               amount                       allocated                    per

                       year           (or          a      greater                     amount,                       if          applicable,                               pursuant                     to

                       Paragraph                          2(c))                   insufficient                             to          permit                      the          payments

                       contemplated                                     in            Section                        2(a),                     the                College                      shall

                       proportionally                                        reduce                     the              amount                         of            the
                                                                                                                                                                                    subsidy
                       awanied                          to             each                  employee                                      by            an               appropriate

                       percentage                               to          ensure                     that              the               overall                       payment                       to

                       employees                          does                not          exceed                  the           applicable                              cap.




                  c)   In       the         event                    that            the          number                         of            eligible                     employees

                       and/or               children                         is     such               that        the           total                amount                     allocated

                       per            year                     is           not              exhausted,                                     the               College                          shall
                                                                                                                                                                                                                .

                       proportionally                                    increase                         the             amount                            of           the        subsidy
                       awarded                     to          each               eligible                     employee                           by          an          appmpriate

                       percentage,                             provided                      however                            that              no         family                shall               be

                       entitled               to         receive                     more                 than             $5,000                      per           year.                In      the

                       event           that              any            excess                    amounts                         remain                          following                      any

                       necessary                        proportional                                   increase,                       no         more                   than        $5,000

                       of      that         excess                     amount                     shall             roll           over                 to         the          following

                       contract                 year.                        In      no        contract                          year                 shall               the       amount

                       available                   as          a child                care              subsidy                    exceed                         $45,000.




         3.   PROCEDURE


                 a)    A        completed                               application                                 for                a         subsidy                        payment,
                       which                must                     include                  the               provision                              of          any            required

                       documentation                                         (see            Section                           l(a),                 above),                     must                  be

                       received
                                               by              the          College's                          Office                  of         Human                        Resources


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                             f)       The                provisions                          of         this           Article                    shall              apply                effective

                                          March                  1,        2004          and             specifically                            shall            not
                                                                                                                                                                               apply               to         any

                                          subsidy                 payments                         for         2003.



                                                                                  ARTICLE                              XXXXV
                                            EMPLOYEE                                     ASSISTANCE                                              PROGRAM

                             The            College                        agrees            to        extend                  participation                              to       all         covered

         bargaining                        unit            employees,                              and            their               eligible                    family                  memben
         and          same                sex            domestic                      partners,                          in         its         Employee                           Assistance

         Program.



                                                                              ARTICLE                               XXXXVI
                                                          TRANSIT                             CHECK                            PROGRAM

                             The              College                         agrees                    to         implement                               a         Transit                       Check

         program                    for           which                    employees                           under                 this          Agreement                                  shall              be

         eligible            no           later          than              March              1,       2002.



                                                                             ARTICLE                              XXXXVII
                                                                      STAFF                   DEVELOPMENT

                             Effective                           March                   1,             2008,                   the              College                         shall                  make
         available                   for            each                   employee                       who                  has              completed                          his             or         her

         probationary                             period                   $315         per            contract                      year          to      be            used            to        enable

         the         employee                             to           attend                 continuing                                   education                           offerings                         at

         Teachem                    College,                     Columbia                          University,                              NYU,                   CUNY                       or         other

         New            York                 City                area               organizations                                    which                 will                enhance                         the

         professional                        development                                of        the          staff            member                     as        it     relates                     to     his

         or     her      job                at       the              College                     and/or                  to         enhance                       the            employee's

         opportunity                          for              pmmotion                           to           another                      College                       position.                           The
         referenced                       amount                      is     available                       only              for          non-credit,                           registration

         fees          and            shall                not                                over                from                     one            year              to           the             next.
                                                                            carry

         Employee                     requests                    for           funding                   pursuant                         to     this            Article                 are            to      be

         submitted                    to           the          employee's                               supervisor                              who              will            review                       the

         request              for            relevance                            to     the             essential                          responsibilities                                       of         the



                                                                                                             63                                                                                                       .
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                                                                          ARTICLE                             XXXXIX
                                                                    TERM                 OF AGREEMENT

             This         Agreement                         shall         be        in       full         force        and         effect              for     the          period

             commencing                            on     March                1,    2007               through             and           including                  February
             29,        2012.


                                                                                                                                                .
             The          College                   and        Local                21      10         agree          to        enter           into         discussions

             relative             to         a    renewal            of     this            Agreement                      no     later         than         the          sixtieth

             (60)             day                immediately                        preceding                        the          termination                         of             this

             Agreement.



                                WHEREFORE,                                 the           parties              have         hereunto                set       their           hands
             and        seals          the        day       and      year           first           written          above.




                                for tou•:2ne              UAW                                                     far Tendes            Ceaey




                                                                                                                                                                      .




                          .




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                                                                  TEACHERS                                                     COLLEGE
                                                                  C O              L U         M       B I A           U N          I   V E R        S I       T Y

                                                                                         OFFICE OF HUMAN RESOURCES


          Maida                Rosenstein

          President

          Local                21                    UAW               -                                                                            Office              &     Professional
                                         10,                                      AFL-CIO,                           Technical,
          Union
                                                                             5'
          113        University                         Place,                       Floor

         New             York,                 NY        10003



         March                 7,        2007



         RE:             Monthly                      Grievance                          Meeting


         Dear            Ms.             Rosenstein:



         This            is     to        memorialize                             the         understanding                              between                Local          2110         UAW
         and        Teachers                         College                 that          a       pilot        monthly                    grievance                 meeting              will     be

         established,                               which               is          in             addition                to            the        contractual                      grievance

         procedure.                              This           will               be          a     six        month                   pilot        program                  that        can      be
         extended                     for       six      month                    periods,                 upon         the         agreement                   of      the    parties.



         1.         Monthly                         grievance                      meeting                    with         Director                  of      Human              Resources,

                    up        to      three            college                employees                                                             the        Union          exclusive             of
                                                                                                                representing

                    representatives                                    of           Local                  2110                to         discuss               status,              schedule,
                    attendance                         and       merit                  regarding                    current               grievances,                   to    resolve            and

                    to        conduct
                                                      Step        3,         where                 appropriate.

         2.         The             parties
                                                        may            agree              to        request             facilitation                     and      assistance               by     the

                    Federal                    Mediation                     and          Conciliation                          Service.

         3.         At         the          first       meeting,                        the         parties             will            seek        to    resolve              outstanding
                    grievances.




         Sincerely,




         Randy                Glazer

         Director                   of      Human                Resources



                    8OX 149, $25 WEST 120™ STREET, PEW YORK, NY 10027-6696 • (212) 678-3175 • FAX (212) 678.3178



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                                                                       T E A C H E R S                                            C O L L E G E
                                                                     C      O       L U             M     B I A            U N       I     V     E R S I          T Y

                                                                                              OF FICE OF HUMAN RESOURCES


            Maida               Rosenstein,                     President

            Local                                UAW           - AFL-CIO,                                                         Office              &   Professional                    Union
                            2110,                                                                     Technical,
                                                                       5*
            113                                        Place,                     Floor
                         University
            New           York,             NY          10003



            March               7,        2007



            Dear          Ms.             Rosenstein:



            Re:          Retiree                 Medical               Premium                         Expenses



            This           is        to     memorialize                           the          understanding                        between                   Local          21      10      UAW             and

            Teachen                        College              that              the          College                   agrees            to         mimburse                                          actual
                                                                                                                                                                               annually
            premium                       expenses              incurred                      by     an       cligible          bargaining                    unit     retiree,             subject          to     a       5
            per     retiree                 limit       of      $1,750                  for                    eligible           retiree              who        retires           after      March               1,
                                                                                                    any                                                                                                                 ¡
            2007.               In          accordance                        with                  Article               XXIV                  the       total            annual             maximum
            reimbursement                              amount               for         all        eligible          retirees            in               one        year      is $40,000.
                                                                                                                                                 any


            As      it     has             been        discussed,                       the          carry         over         amount                 from          one      contact                 year        to

            another              over            the     course             of      the            curmnt            collective                                             agreement                 will        be
                                                                                                                                                 bargaining
            done          as     per         the       example               below:

                                              2008           Total          annual                  maximum                   reimbunement                           amount:

                                              $40,000

                                              Paid:          $10,000

                                              Balance                left         and              carried           over:          $30.000



                                              2009           Total          annual                  maximum                   reimbursement                          amount:

                                              $40,000                + $30,000                       = $70,000

                                              Paid:          $30,000

                                              Balance                left         and              carried           over:          $10.000



                                              2010           Total          annual                  maximum                   reimbursement                          amount

                                              $40,000                + $10,000                      = $50,000

            Sincerely,




            Rand                Glazer

            Director                 of     Human               Resources

                                                             120*                             NEW YORx, NY 100274696                             • (212) 678-3175
                    BOX 149, 525 WEST                                  STREET,                                                                                               • FAX (212) 678-3178


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